          Case:
         Case   22-16993, 12/07/2023,
              4:20-cv-05146-YGR       ID: 12834562,
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                       UNITED STATES COURT OF APPEALS                        FILED
                              FOR THE NINTH CIRCUIT                           DEC 7 2023
                                                                          MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
PATRICK CALHOUN; et al.,                           No.    22-16993

                   Plaintiffs-Appellants,          D.C. No. 4:20-cv-05146-YGR
                                                   Northern District of California,
 v.                                                Oakland

GOOGLE, LLC,                                       ORDER

                   Defendant-Appellee.

Before: Lisa B. Fitzgerald, Appellate Commissioner.

         Appellants filed a notice of intent to file publicly the opening brief and

Volumes 4 through 8 of the excerpts of record (Docket Entry No. 41). See 9th Cir.

R. 27-13(f). Appellants also filed a motion (Docket Entry No. 43) to file under

seal select portions of Volumes 4 through 8 of the excerpts of record. The

unopposed motion is granted.

         Appellee’s opposed motion (Docket Entry No. 46) to file under seal the

opening brief and portions of the Index Volume and Volumes 4 through 8 of the

excerpts of record is granted, subject to reconsideration by the merits panel.

         Appellants’ unopposed motion (Docket Entry No. 47) to file under seal the

response to appellee’s motion to seal is granted.

         The Clerk will unseal the notice (Docket Entry No. 41-1) and file publicly

the motions to seal and the Schapiro Declaration (Docket Entry Nos. 43-1, 46-1,

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46-2, 47-1). The Clerk will also file publicly Volumes 1 through 3 of the excerpts

of record (Docket Entry Nos. 42-2 through 42-4).

         The Clerk will file under seal the opening brief (Docket Entry No. 41-2), the

Index Volume (Docket Entry No. 42-1), and Volumes 4 through 8 of the excerpts

of record (Docket Entry Nos. 41-3 through 41-5, 43-2, 43-3). The Clerk will also

file under seal the response to appellee’s motion to seal (Docket Entry No. 47-2).

The Clerk will maintain under seal Docket Entry Nos. 46-5 through 46-18.

         Within 21 days of this order, appellants must submit for public filing

redacted versions of the opening brief and Index Volume that track the proposed

redactions set forth in Docket Entry Nos. 46-3 and 46-4. The page numbering and

citations in the public versions must remain the same as in the sealed versions.

         Appellee’s motion (Docket Entry No. 49) for an extension of time to file the

answering brief is granted. The answering brief is due December 26, 2023. The

optional reply brief is due within 21 days after service of the answering brief.




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